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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


   IN RE WILMINGTON TRUST SECURITIES        Master File No. 10-cv-00990-ER-SRF
   LITIGATION
                                            (Securities Class Action)

                                            Hon. Eduardo C. Robreno

   This document relates to: ALL ACTIONS




                  WILMINGTON TRUST CORPORATION’S REPLY
                 IN SUPPORT OF ITS MOTION FOR MODIFICATION
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         As Judge Robreno suggested in two separate orders, D.I. 804 n.1 & 810 n.1, Wilmington

  Trust Corporation’s (“WT Corp.”) dismissal from the criminal case warrants reexamination of

  the Court’s September 19, 2017 order, D.I. 785 (the “Order”). The Board of Governors of the

  Federal Reserve System (“Fed”) cannot escape the fact that these new circumstances no longer

  support the grounds relied upon in the Order.

                                            ARGUMENT

  I.     WT Corp. Is Entitled to Depose the Fed Employees

         A.      WT Corp.’s need for deposition testimony is no longer “lessened”

         The Fed argues that, because the remaining criminal defendants face the same charges as

  WT Corp., are defendants in this civil case, and have also sought these depositions, WT Corp.’s

  need for the depositions is no different now than when it was a criminal defendant. D.I. 813 at 3-

  4 (“Opposition”). This proposition is not supported by precedent or common sense.

         Citing no case law to support its position, the Fed attempts to analogize the situation to

  Federal Rule of Evidence 804(b)(1), suggesting that the remaining criminal defendants are akin

  to “predecessors in interest” to WT Corp. because they will elicit “similar testimony” at the

  criminal trial. D.I. 813 at 4. This analogy misses the mark completely, and actually underscores

  the unfairness of precluding WT. Corp from conducting these depositions. Rule 804(b)(1)

  covers the use of prior testimony against a party when witnesses are unavailable. The Fed’s

  citation to Rule 804(b)(1) highlights the fact that the criminal testimony of Fed witnesses might

  be used against WT Corp., but not by WT Corp., when WT Corp. had no opportunity to depose

  those witnesses, making the preclusion of depositions in this case entirely unfair.

         WT Corp.’s need for the depositions has clearly been magnified by the changed

  circumstances: it cannot cross examine Fed employees at the criminal trial or call them as

  witnesses. Although WT Corp. wants to discuss the examination of criminal trial witnesses who

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  are potential civil trial witnesses with the remaining criminal defendants, it has no control over

  the questions they will ask or the topics they will explore with the Fed witnesses.1 Moreover, the

  Fed’s position ignores the fact that each individual defendant may have different positions

  relative to the facts, different strategies, and different interests that are not identical to WT

  Corp.’s—particularly given that WT Corp. is not facing criminal charges. Individual counsel

  only represent their individual clients, not the bank. WT Corp. cannot rely on counsel for the

  remaining defendants to probe these witnesses in a manner that will protect WT Corp.’s interests

  in the civil case.2 The continued presence of the remaining defendants in the criminal case is

  therefore irrelevant to the analysis of WT Corp.’s need for this testimony.3


  1
          Even this may not be possible. The government has filed a motion with Judge Andrews
  arguing that WT Corp. would breach its settlement agreement if it discusses the examination of a
  criminal trial witness with the remaining criminal defendants. See United States v. Wilmington
  Trust, et al., No. 15-cr-23 (D. Del.) (“Crim. Action”), D.I. 630 at 1.
  2
          The Fed cites the Order to suggest that WT Corp.’s need for depositions is unchanged
  because the remaining criminal defendants will elicit “similar testimony.” D.I. 813 at 4. This
  characterization distorts the Order. When the Order was issued, WT Corp. was still a criminal
  defendant. The Court’s reference to “similar testimony,” D.I. 785 ¶ 6, related to the likelihood
  that WT Corp. would ask Fed employees the same or similar questions at the criminal trial as it
  would in a civil deposition. In any event, the Order does not account for the differences between
  the permissible scope of civil deposition examination and criminal trial examination, and that the
  subject matter in the civil case is far broader than the criminal case, see D.I. 509 at 1.
  3
           The Fed grossly mischaracterizes WT Corp.’s position when it suggests WT Corp.
  endorsed the position that the testimony in the criminal case would be adequate for purposes of
  the civil case. See D.I. 813 at 2. The brief referenced by the Fed was in support of a continuance
  of the civil trial, and argued that Fed witness testimony would be relevant to the civil case. This
  is a far cry from saying the testimony would be adequate. See D.I. 797 at 5-6.

           Based on that same brief, the Fed calls WT Corp.’s argument against duplicativeness
  “disingenuous.” D.I. 813 at 4-5. But the fact that the criminal trial testimony of Fed witnesses—
  and scores of other potential witnesses—is obviously relevant to this case is not an argument that
  their testimony is a proper substitute for civil discovery. Moreover, the continuance motion
  referenced by the Fed was based on a host of issues that the Fed fails to mention, including that
  the verdicts in the criminal trial may change or narrow issues for expert discovery and summary
  judgment; that the testimony from numerous witnesses—not just Fed witnesses—will be highly
  relevant for civil expert discovery and summary judgment; and that requiring the individual
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         B.      WT Corp. cannot elicit cumulative testimony

         The testimony that WT Corp. would elicit from Fed witnesses in the civil case cannot be

  cumulative of testimony in the criminal trial because WT Corp. can no longer elicit testimony at

  the criminal trial. The Fed’s argument for cumulativeness is premised on the misguided notion

  that another defendant’s lawyer in the criminal case can adequately represent WT Corp.’s

  interests in the civil case. As discussed above, the Fed’s argument ignores reality as much as it

  ignores precedent. See, e.g., Nat'l Union Fire Ins. Co. v. Rite Aid of S.C., Inc., 210 F.3d 246, 251

  (4th Cir. 2000).

         C.      The Fed concedes that the depositions do not impose an undue burden

         The Fed filed a declaration in which it spent nine (9) pages describing its supposed

  burden if it were required to produce documents; in stark contrast, it did not offer a single word

  in that declaration, or in its Opposition, about any burden it would face if the Fed witnesses were

  deposed, much less a word about how that burden would be undue. See D.I. 812 & 812-2. The

  Fed has not satisfied its “heavy burden” of showing that it would suffer an undue burden by

  presenting each of the Fed witnesses for a typical, one-day deposition.4 See Composition

  Roofers v. Gravely Roofing Enter., Inc., 160 F.R.D. 70, 72 (E.D. Pa. 1995).




  defendants to prepare for and participate in their criminal trial and engage in expert discovery
  and summary judgment briefing would be highly prejudicial to them. D.I. 797 at 5-12.
  4
          Although the Court’s Order found that the depositions would burden the Fed, it did not
  find that that burden would be undue. See D.I. 785 ¶ 8. There is always some burden associated
  with a deposition. The Court did not find an undue burden in its Order, and it should not find an
  undue burden now—particularly in light of the Fed’s failure to satisfy its “heavy burden” to
  show an undue burden. See D.I. 688 at 3 & n.2.

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         D.      Judge Robinson resolved the potential discovery abuse issue

         The Fed argues that, although WT Corp. can no longer use civil discovery to improperly

  aid its position in the criminal case, the other criminal defendants still could. D.I. 813 at 5. WT

  Corp.’s ability to fully defend this civil case should not turn on the existence of a criminal

  proceeding to which it is not a party. The Fed cites no precedent for its outlandish proposition

  that civil discovery should be denied to WT Corp. because other defendants are parties to

  concurrent criminal proceedings.

         Courts typically address the issues raised by parallel civil and criminal proceedings by

  imposing a stay in the civil case until the criminal case runs its course. But this is not required.

  See, e.g., SEC v. Dresser Industries, Inc., 628 F.2d 1368, 1375 (D.C. Cir. 1980). At the

  government’s urging, D.I. 468 at 1, Judge Robinson lifted the stay “in its entirety” and ordered

  that fact discovery proceed concurrently with the criminal case. D.I. 488 & 509. At the time the

  Court lifted the stay, Judge Robinson was fully aware of the discovery issues the Fed now raises.

  See D.I. 468 at 15. The Opposition shines no new light on these issues.

         Rather, the Opposition effectively asks the Court to reimpose a stay on discovery—but

  only as it relates to the Fed. What the Fed fails to apprehend is that the supposed risks of

  improperly using civil discovery to aid the criminal case are not unique to Fed witnesses. The

  parties in the civil case have already deposed many witnesses that appear on the government’s

  witness list.5 The testimony of these witnesses was just as susceptible to the risks that the Fed

  raises in its Opposition. Judge Robinson—at the government’s urging—concluded nearly a year


  5
          For example, the following individuals deposed in the civil case appeared on the
  government’s potential witness list: Calvin Jaber; Terry Brewer; Rich Conway; Brian Bailey; Joe
  Terranova; Bob Gehring; Jason Delozier; John Depman; Julie Morris; Karen Thuresson; Martin
  Infanti; Robert Graber; Steve Cummings; Todd Glandon; Tosha Towe; Vidya Saligrama. D.I.
  797-1.

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  ago that these risks are tolerable in this case. D.I. 488 & 509; see also D.I. 477 at 1 (“the

  government’s all-or-nothing approach is the only proposal that appropriately balances the

  various interests of the victims, the defendants in the civil and criminal case, and the third party

  witnesses with the efficiency interests of the Court.”). It would be incongruous indeed for the

  Court to deny discovery only from the Fed, but permit depositions of all other likely government

  witnesses. The Fed offers no explanation for why it should receive such favored treatment. The

  denial of deposition testimony on this basis would be inconsistent with Judge Robinson’s prior

  ruling to lift the stay “in its entirety.” D.I. 488 at 1.

          E.      The other grounds cited by the Fed are insufficient to deny deposition
                  testimony

                  1.      Civil discovery is not limited to “primary evidence”

          Whether contemporary records are “primary evidence” or not, D.I. 785 ¶ 7, the Federal

  Rules of Civil Procedure do not limit civil discovery to “primary evidence.” See D.I. 811 n.3. In

  any event, most of these records are not self-explanatory, so deposition testimony is required to

  understand them; the Fed witnesses had communications with WT Corp. personnel that are not

  memorialized in any documents; and the Fed witnesses were required to perform analyses that

  are not memorialized in any documents. See id.

                  2.      WT Corp. does not seek deposition testimony to show “its condition
                          during the class period”

          The Court observed in its Order that documents already produced by the Federal Reserve

  “establish Wilmington Trust’s actual condition during the relevant period more reliably than the

  recollections of bank examiners.” D.I. 785 ¶ 7. This finding does not support the denial of

  deposition testimony because this is not why the testimony is sought. WT Corp. will use the

  requested deposition testimony to demonstrate, among other things:

      The Fed was charged with auditing the bank’s “past due” loan reporting practices;

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       The Fed was aware the bank did not report all of its matured loans as “past due”;
       Fed awareness of this practice is strong evidence that those matured loans should not have
        been reported as “past due”;
       Plaintiffs are incorrect in alleging that the bank’s “past due” loan reporting was false; and

       The bank did not have fraudulent intent.

          The Fed asserts that the Order found that loan ratings produced by the Fed sufficiently

  “‘reveal what [the Fed] thought’” and precluded the deposition of a Fed analyst on that basis.

  D.I. 813 at 2-3. That quotation is actually from a parenthetical citation in the Order that quotes

  an order by Judge Andrews. See Crim. Action, D.I. 342 at 2. The Opposition argues that this

  “finding” (which the Order never made) should also preclude the requested depositions that WT

  Corp. still seeks. Unlike the Fed analyst, all other witnesses are percipient fact witnesses that

  have first-hand knowledge about WT Corp. and directly interacted with WT Corp. concerning

  relevant issues during the class period.6 Moreover, the loan ratings produced by the Fed in the

  criminal case do not help establish the evidence WT Corp. seeks to elicit through the depositions.

  II.     The Court Should Grant WT Corp.’s Narrowed Document Requests

          A.      WT Corp. has a critical need for the requested documents

          WT Corp.’s document request should be granted because it is narrowly targeted to central

  issues in the case—past due loan reporting, loan extensions, interest reserves, and supplemental

  financing. D.I. 149 ¶¶ 3, 8, 324. These are the same limited categories that Judge Andrews

  concluded satisfied the Cuthbertson standard in the criminal case—a much more rigorous



  6
         Similarly, the testimony of subordinate Fed employees does not displace the need for the
  deposition testimony of Eric Sonnheim. See D.I. 813 at 4 n.5. He is a percipient fact witness
  who participated in relevant discussions with WT Corp. about which there are no documents.
  Subordinate testimony cannot substitute for Mr. Sonnheim’s first-hand knowledge of specific
  events and conversations that are material to WT Corp.’s capital raise and Memorandum of
  Understanding.

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  standard than what is required for civil discovery. Crim. Action, D.I. 564. Judge Andrews’s

  conclusion should guide this Court because the importance of the requested documents applies

  equally in both cases—the Fed’s knowledge about the requested categories undermines

  Plaintiffs’ allegations of fraud and falsity.7 See supra Part I.E.2.

         The time period of the document request is proper because it encompasses the conspiracy

  period alleged in the Complaint. See D.I. 702 at 3; D.I. 149 ¶¶ 91; 97; 98, 123 (alleging

  fraudulent conduct beginning in 2005)8. The entities covered by the document request are proper

  because the Fed was the primary regulator of WT Corp., a defendant in this case, and

  Wilmington Trust of Pennsylvania, during the requested period.9

         For all its claims of burden, the Fed completely fails to address the other side of the

  proportionality analysis: the critical importance of the requested documents to a case in which

  Plaintiffs are seeking hundreds of millions of dollars in alleged damages. Fed examiners are

  supposed to analyze WT Corp.’s reporting practices—analyses that were likely done by


  7
            In attempting to downplay the importance of Judge Andrews’s order, the Fed gets several
  things wrong. The Opposition asserts that “Examiners’ ‘understanding’ of WT Corp.’s practices
  . . . is an express element of the Government’s criminal case” and is not an “express element” for
  Plaintiffs in the civil case. D.I. 813 at 7 (citing the conspiracy count of the criminal indictment).
  The government does not need to prove what examiners understood as an element of conspiracy;
  it needs to prove, inter alia, that the defendants had the requisite intent to defraud relating to the
  reporting of “past due” loans. That is also what Plaintiffs need to prove to prevail on their fraud
  claims. See, e.g., D.I. 149 ¶¶ 341-352 (securities fraud). More importantly, Plaintiffs and the
  government both have to prove that the bank’s “past due” loan reporting was actually false. As
  discussed above, examiners’ knowledge of the bank’s practices is highly relevant to the defense
  of all claims relating to falsity, not just those relating to fraud. See supra Part I.E.2.
  8
          Given the Fed’s concern that production of material within the scope of the alleged
  conspiracy period creates a burden concern, D.I. 813 at 7, WT Corp. will limit its request to the
  class period, January 18, 2008 to November 1, 2010. See D.I. 149 ¶ 476.
  9
         Given the Fed’s concern that requiring production concerning all “affiliates” of WT
  Corp. creates a potential burden concern, D.I. 813 at 7, WT Corp. will limit its request to WT
  Corp., Wilmington Trust Company, and Wilmington Trust of Pennsylvania.

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  Fomunyam’s subordinates. See D.I. 699 at 27-33 & 688-5 at 17. For example, as WT Corp.

  explained in its opening brief, a simple analysis (sorting a few columns in an Excel spreadsheet)

  plainly discloses that WT Corp. did not report all of its matured loans as “past due.” The Fed’s

  exam manuals explain that examiners were supposed to conduct this analysis, see id., and an

  interview with examiners from the Office of the State Bank Commissioner confirms that this

  analysis was actually performed, D.I. 782 at 7. Evidence of this analysis is critical to

  undermining Plaintiffs’ claims of fraud and falsity. See supra Part I.E.2. The Fed does not

  contest the heavy weight that these materials carry in the proportionality analysis.10

         B.      The Fed has not demonstrated an undue burden

         The Fed repeatedly references the large number of pages it has produced in response to

  government requests in the criminal case. D.I. 813 at 1, 8. WT Corp. has no control over the

  government’s requests. The Fed’s cooperation with the government in a separate proceeding

  should not factor into the Court’s decision whether to direct the Fed to comply with WT Corp.’s



  10
          The Fed claims it has already produced all files it could locate related to the analyses its
  exam manuals required its examiners to conduct. D.I. 813 n.11. This is inconsistent with the
  statements in its declaration. The Fed previously represented to this Court that it has not
  searched its unofficial files for the exam manual analyses, and has argued that it should not
  search for those files. See D.I. 712 at 10, 12. The Fed also previously represented that all
  examiner records were contained in the official record. See Crim. Action, D.I. 354-2 at 101 &
  354-3 at 297. Now, the Fed says it has “discovered” that custodians kept “soft copies of
  unofficial record materials not previously produced.” D.I. 812-2 ¶ 8 (emphasis added). The Fed
  also now admits that it first searched its unofficial files in response to the criminal subpoena, id.
  ¶¶ 3-4, 7-8, which did not cover the exam manual analyses now sought in WT Corp.’s document
  request. The declaration also admits that “unofficial record materials” of WT Corp. exams in
  fact exist. See id. ¶ 8. Thus, the analyses required by the exam manuals, which were not
  included in the official record, have not already been produced by the Fed, because the Fed has
  never performed a search for that material. At this point, the Fed has only produced material
  from unofficial files if it was authored by Fomunyam. The Fed’s resistance to discovery of
  similar material authored by other examiners who reported to Fomunyam is a shell game.
  Critical exam analyses were likely received by Fomunyam and authored by his subordinates,
  which is precisely what WT Corp.’s requests seek.

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   requests in this civil case, particularly given the fact that the government’s requests apparently

   did not cover the material WT Corp. now seeks. For this reason, the Fed’s claim of

   cumulativeness is meritless. WT Corp.’s argument all along has been that, despite the pages of

   documents produced by the Fed in the criminal case, virtually none of them relate to the “past

   due” loan analyses examiners are required to perform.11 The vast majority of those materials are

   simply not responsive to the categories of documents WT Corp. now seeks. The Fed cannot

   credibly claim that the requested documents are cumulative when (1) it never received a

   government request to search for these documents; (2) it has not produced these documents

   pursuant to a broader government request; and (3) it has acknowledged that it has not searched

   for them in its unofficial files—including files it now admits exist. See D.I. 712 at 10, 12.

          The only legal process that has been successfully imposed on the Fed by any of the civil

   parties was accomplished by the individual defendants in the criminal case. That subpoena

   yielded fewer than fifteen files, including eight e-mails, one draft presentation, and one 200MB

   word document. D.I. 812-2 ¶¶ 12-14.

          The Fed represents that it spent 100 hours spread over 20 employees to produce those

   documents. Id. ¶ 5. That is 5 hours per employee—the equivalent of less than one day of work.

   The Fed uses this response time to estimate that it would take “at least hundreds more hours” to

   respond to WT Corp.’s document request. Id. ¶ 9. The Fed’s basis for that estimate is arbitrary

   and groundless. It does not even identify the number of individuals whose files would have to be

   searched. WT Corp.’s request is limited to those on the examination team responsible for the


   11
           The Fed characterizes WT Corp.’s request for “past due” loan analyses as improperly
   seeking unretained expert opinions. D.I. 813 at 9. This is incorrect. These document requests,
   as well as the deposition requests, seek the contemporaneous activities of percipient fact
   witnesses. Evidence of what Fed examiners actually did at the relevant time is not expert
   testimony.

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   requested categories of documents. Nevertheless, the Fed baldly asserts that the number of

   custodians needed to be searched would increase “exponentially.” D.I. 812-2 ¶ 9(a). Even if the

   Fed’s estimate is taken at face value, it does not explain why devoting the equivalent of several

   full work days over 20 days (the amount of time it spent preparing its response to the recent

   criminal subpoena, id. ¶ 2) would be unduly burdensome. Nor does it explain why this burden

   could not be reduced if it were afforded more time to respond.

          The Fed also claims that it did not take “detailed notes” while responding to the criminal

   subpoena “that might have helped it perform other searches months later.” Id. ¶ 10(b). Ignoring

   the dubious nature of the claim that lawyers would take no notes to ensure they had properly

   complied with a criminal subpoena, the supposed explanation of that failure is inconsistent with

   the facts. The Fed claims it did not take notes “due to severe time pressures imposed by WT

   Corp.” because it had “less than six full working days to provide responsive materials.” Id. WT

   Corp. served its subpoena on September 28, 2017. Id. The Fed never responded to that

   subpoena; instead, it responded to an identical subpoena made by the individual criminal

   defendants on October 18, 2017. Id. ¶ 2. The Fed offers no explanation why it could not take

   notes over the 20 days it took to respond to the criminal subpoena.

          WT Corp. has demonstrated a legitimate need for the requested materials and has crafted

   narrow requests proportional to that need. The Fed’s unsubstantiated and misleading burden

   arguments do not justify denying access to these critical materials.

                                            CONCLUSION

          In light of the new circumstances discussed in WT Corp.’s pleadings, the Court should

   modify its Order to permit the depositions of the four requested Fed employees and permit WT

   Corp. to obtain a limited subset of documents sought in its subpoena to the Fed.



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   Dated: February 7, 2018                   VENABLE LLP


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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 7th day of February, 2018, I served a copy of the

   foregoing Reply using the Court’s CM/ECF system.



                                            /s/ Daniel A. O’Brien
                                            Daniel A. O’Brien (No. 4897)




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